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                         Exhibit B
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    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
                                             )
DEFINITION SERVICES INC.,                    )
                                             )
                   Plaintiff,                )
                                             )
      v.                                           C.A. No. 2021-0357-KSJM
                                             )
GVA CAPITAL LTD.,                            )
                                             )
                   Defendant.                )
                                             )

               NOTICE OF FILING OF NOTICE OF REMOVAL
      Defendant GVA Capital Ltd. hereby gives notice that a Notice of Removal

was filed in the United States District Court for the District of Delaware, a copy of

which is appended to this notice (Exhibit A). Accordingly, this action is hereby

removed to the United States District Court for the District of Delaware.

                                         ROSS ARONSTAM & MORITZ LLP

                                         /s/ Adam D. Gold
Of Counsel:                              Bradley R. Aronstam (Bar No. 5129)
                                         Adam D. Gold (Bar No. 6412)
Elliot R. Peters                         100 S. West Street, Suite 400
Nicholas D. Marais                       Wilmington, Delaware 19801
KEKER, VAN NEST & PETERS LLP             (302) 576-1600
633 Battery Street
San Francisco, California 94111          Attorneys for Defendant GVA Capital Ltd.

May 25, 2021
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                        CERTIFICATE OF SERVICE
      I, Adam D. Gold, hereby certify that on May 25, 2021, I caused a true and

correct copy of the foregoing Notice of Filing of Notice of Removal to be served

through File & ServeXpress on the following counsel:

                  Brock E. Czeschin
                  Christian C.F. Roberts
                  RICHARDS, LAYTON & FINGER, P.A.
                  920 North King Street
                  Wilmington, Delaware 19801


                                           /s/ Adam D. Gold
                                           Adam D. Gold (Bar No. 6412)
